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                                    UNITED STATES DISTRICT COURT
                                FOR THE WESTE     DISTRICT OF TEXASCL                           E
                                                                                                      172018
                                        SAN ANTO NIO DIVISION      w                        U


    TYLER MATTHEW RACHUI

                   Plaintiff                             CIVIL ACTION NO.
    V.

    MIRANDA RACHUI and                                     A18cA IA O
    MARY ELIZABETH McLAUGHLIN,
    DIB/A McLAUGHLIN LAW OFFICE
                                                         JURY TRIAL DEMANDED
                           Defendants


                                               COMPLAINT

           PLAINTIFF, TYLER MATTHEW RACHUI ("RACHUI") brings this suit against

    Defendants    MIRANDA RACHUI              and   MARY       ELIZABETH        McLAUGHLIN,                cl/b/a

    McLAUGHLIN LAW OFFICE, and, upon information and belief, alleges the following:

                                  GENERAL NATURE OF THE CASE

            1.     For servicemembers of America's armed forces, the Servicemembers Civil Relief

    Act ("SCRA") prevents a court from entering a default judgment against a servicemember in any

    case in which the servicemember has not made an appearance, unless the court has appointed an

    attorney to represent the absent servicemember. Pursuant to 50 U.S.C. §3931, the party seeking a

    default judgment is obliged to file an affidavit advising the court of whether the defendant is or is

    not on active military duty. If the affidavit indicates the defendant is on active duty, no default

    judgment can be validly entered against the servicemember unless and until an attorney is

    appointed to represent the absent servicemember and that attorney has a reasonable period in which

    to locate and communicate with the servicemember. If the requirements of 50 U.S.C. §3931 are

    not complied with, the servicemember-defendant may at any time while still on active duty and

    for 90 days after release from active duty file a motion to vacate and set aside the default judgment.

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If the servicemember can convince the court that he or she was materially affected in the ability to

appear and defend the action by virtue of their military service and that the servicemember had a

meritorious defense to at least some portion of the action, the court must set aside the initial

judgment and reopen the matter to allow the servicemember to defend the action.

        2.     Based on the facts alleged below, Plaintiff shows that the Defendants herein,

MIRANDA RACHUI and MARY ELIZABETH McLAUGHLIN, d/b/a McLAUGHLiN LAW

OFFICE, violated the Plaintiff's rights under the SCRA, and specifically 50 U.S.C. §3931, by

obtaining a default judgment against him in a civil divorce action obtained in the 45' Judicial

District Court, Bexar County, Texas, without notifying the court that Plaintiff was on active duty

in the U.S. Air Force and without having an attorney appointed to represent the Plaintiff before

proceeding to take the default judgment of divorce. In the judgment of divorce, as shown in

allegations below, four sizable debts were adjudged against Plaintiff without any proof or evidence

whatsoever, and Plaintiff was subsequently court-martialed by the U.S. Air Force and imprisoned

for "dishonorable failure to pay" those debts, all of which have now been vacated and set aside by

the 45th District Court, Bexar County, Texas.

                                            PARTIES

       3.      PLAiNTIFF is a citizen of the State of South Carolina, currently residing in Bexar

County, Texas while on active military duty with the U.S. Air Force.

       4.      DEFENDANTS are:

              A.      MIRANDA RACHUI, wife of TYLER MATTHEW RACHUI, who may be
                      served at Huffines Chrysler, Jeep, Dodge, RAM (Service Department), 1024
                      S. Stemmons Freeway, Lewisville, TX 75067; and

              B.      MARY ELIZABETH McLAUGHLIN, d/b/a McLAUGHLIN LAW
                      OFFICE, who may be served at 1550 NE Loop 410, Suite 205, SanAntonio,
                      Texas 78209.



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                                  JURISDICTION AND VENUE

         5.     Pursuant to 28 U.S.C. §1331, this Court has original jurisdiction over this matter in

that Plaintifi's cause of action arises out of 50     U.S.C.   §3901,   et seq.,   specifically   50 u.s.c.

§3931 and 4042.

         6.     This court has general and specific personal jurisdiction over the Defendants, in

that the Defendants reside and/or conduct business in the State of Texas sufficient to confer

minimum contacts within the State of Texas and within the Western District of Texas, and further

because certain material acts upon which this suit is based occurred within the Western District of

Texas.

         7.     Venue is proper in the Western District of Texas pursuant to 28 U.S.C.        § 1391(b)    in

that: (1) a substantial part of the events or omissions giving rise to the claims occurred in this

district; (2) both Defendants resided in this district at the time of the events giving rise to the claims

herein; and (3) Defendant McLAUGHLIN may be found in this district.

                                       FACTS OF THE CASE

         8.     Plaintiff and MIRANDA RACHUI were married on or about July 23, 2016. They

lived together as husband and wife in San Antonio, Texas until they ceased living together as a

married couple on October 5, 2016.

         9.     Plaintiff enlisted in the U.S. Air Force on February 9, 2016. He was on active duty

in the U.S. Air Force when he and Defendant MIRANDARACHUI married and remains on active

duty in the U.S. Air Force to this date.




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        10.     While Plaintiff and Defendant MIRANDA RACHUI lived together as husband and

wife in an apartment in San Antonio, Texas, Plaintiff went to his place of duty at Joint Base San

Antonio-Lackland every duty day, where he served in the 802nd Security Forces Squadron.

        11.     At all times pertinent to this matter, Defendant MIRANDA RACHUI has known

that her husband, Plaintiff, was on active duty with the U.S. Air Force.

        12.     After the couple separated, Defendant MIRANDA RACHUI retained the services

of Defendant MARY ELIZABETH McLAUGHLIN, d/b/a McLAUGHLIN LAW OFFICE

("McLAUGHLIN") to represent her in a divorce action.

        13.     On November 2, 2016, Defendant McLAUGHLIN caused to be filed in the 45th

District Court, Bexar County, Texas, an Original Petition for Divorce styled "In the matter of the

Marriage of Miranda Rachui and Tyler Matthew Rachui", which was assigned Docket No. 2016-

CI-19191.

        14.     In paragraph 5 of the divorce petition, Defendant McLAUGHLIN advised the court

that Plaintiff (the defendant in the divorce action) could be served at 2445 George Avenue, #4,

JBSA-Lackland AFB, Texas 78236-5228, an address on the U.S. Air Force base now designated

at Joint Base San Antonio    Lackland, Texas.

        15.     The divorce petition does not pray for an award of any fraud damages owed to the

community that previously existed between the parties, nor for award of any specific debts to one

party or the other.

        16.     The Officer's Return on the Citation in the divorce proceeding indicated that

Plaintiff had been personally served at 12:55 pm on November 8, 2016 at 2445 George Avenue,

Building 5275, San Antonio and on the Field Sheet filed into the record from the private process

server, Pronto Process, the location of the service of Plaintiff is listed as "served on base" and a



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handwritten notation about Plaintiff's name indicates "A1C", an abbreviation for Plaintiff's rank

of Airman First Class in the U.S. Air Force. The Field Sheet also shows the Plaintiffis address on

"Lackland AFB, San Antonio, TX 78236".

         17.    After he was served with the citation and petition in the state court divorce action,

Plaintiff requested permission from his supervisor and thereafter his First Sergeant to seek legal

advice at the Base Legal Office. However, Plaintiff was advised that the divorce was a "downtown

civil matter" for which he would need counsel and that none of the active duty Air Force judge

advocates at JBSA-Lackland could represent him in that proceeding. Based on the orders from his

supervisor and First Sergeant, Plaintiff did not receive legal advice from the Base Legal Office.

Because at the time he was served Plaintiff had been restricted to the confines of JBSA-Lackland

Air Force Base for unrelated reasons, his military duties affected his ability to seek legal counsel

and defend the divorce action in that he was prevented from going off base to retain an attorney.

Thereafter, Plaintiff waited to be contacted by the attorney who was to be appointed by the court

that Plaintiff knew was required under the SCRA, although such contact never occurred as shown

below.

         18.    The record of Case No. 2016-CI-19191 in the 45th District Court, Bexar County,

Texas does not contain an affidavit from Defendant McLAUGHLIN advising the court of the

military status of the Plaintiff in this matter.

         19.    No motion to appoint counsel to represent Plaintiff in this matter (the defendant in

the divorce proceeding) was ever filed by either Defendant in the Texas divorce proceeding.

         20.    Plaintiff was never appointed an attorney to represent him in the state court divorce

proceeding.




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       21.     Plaintiff never made an appearance in the state court divorce proceeding before a

judgment of divorce was rendered against him.

       22.     Defendant McLAUGHLIN filed a Motion for Default Judgment in the state court

divorce proceeding on January 24, 2017. At no time during the state court divorce proceeding did

Defendant McLAUGHLIN ever advise the state court that the defendant in the divorce action,

Plaintiff herein, was an active duty member of the U.S. Air Force, nor did she file the affidavit of

military service required by 50 U.S.C. §3931, nor did she move to have an attorney appointed to

represent Plaintiff TYLER MATTHER RACHUI.

       23.     On information and belief, Defendant McLAUGHIN knew that Plaintiff TYLER

MATTHEW RACHUI was on active duty with the U.S. Air Force at the time the petition for

divorce was filed and on the date of the entry of the default judgment against Plaintiff TYLER

MATTHEW RACHUI.

       24.     On February 17, 2017, the Defendants appeared in 45th District Court, Bexar

County, Texas in Case No. 2016-CI-19191 where they obtained a judgment by default against

Plaintiff herein. The transcript of that hearing revealed that no testimony or evidence of any kind

was taken from Defendant MIRANDA RACHUI or any other witness and Defendant

McLAUGHLIN merely presented a judgment she had drafted to the court, which was signed and

filed ("the 2017 Divorce Decree")

       25.     Included in the 2017 Divorce Decree were debts and other monetary awards that

were adjudicated against Plaintiff TYLER MATTHEW RACHUI with extremely short periods of

time within which he was to pay those debts and monetary awards, none of which he knew about

because no attorney had ever been appointed to represent him and because he received no notice

of the default judgment hearing date. Additionally, some of the debts and other monetary awards


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adjudicated against Plaintiff TYLER MATTHEW RACHUI were not pled in the petition

previously filed in state court.

        26.     Even though Plaintiff and Defendant had resided together as husband and wife for

less than three months in 2016 and Plaintiff's base pay from the U.S. Air Force was only $1,638.30

per month, among the debts and other monetary awards adjudicated against Plaintiff TYLER

MATTHEW RACHUI in the 2017 Divorce Decree were the following:

       a.       An award of the sum of $1,206.00 to Defendant MIRANDA RACHUI payable in

                cash on February 17, 2017 (the day of the 2017 Divorce Decree).

       b.       An award of debts allegedly owed to a Military Star credit card account in the

                amount of $2,981.85.

       c.       An award of debts allegedly owed to Navy Federal Credit Union on the amount of

                $2.93 1.67.

       d.       An award of $2,350 to Defendant MIRANDA RACHUI as reimbursement to her

                separate estate, when she never pled that she had a separate estate and presented no

                evidence or testimony at the February 17, 2017 default judgment hearing of any

                such debt.    Installment payments of $235.00 per month were ordered to be paid

                beginning not later than March 1, 2017 by Plaintiff MATTHEW TYLER RACHUI

                on that portion of the 2017 Divorce Decree.

        e.      An award of damages in the amount of $5,000.00 for "fraud on the community",

                when there was no allegation of any such fraud in the divorce petition and no

                evidence of any such fraud presented in the default judgment hearing on February

                17, 2017.     Plaintiff TYLER MATTHEW RACUHI was to have commenced

                monthly payments of $500.00 per month not later than March 1, 2017.



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       f.      An award of $2,500.00 to Defendant McLAUGHLIN for Defendant MIRANDA

               RACHUI's attorneys' fees, payable not later than March 1, 2017.

       27.     As to each of the foregoing debts and other awards made to Defendant MIRANDA

RACFIUI, Plaintiff TYLER MATTHEW RACHUI had meritorious defenses as to the legality               of
awarding such amounts when they had not been pled, when he contested the correctness of the

amounts and due to the fact that no evidence had been presented in the February 17, 2017 default

judgment hearing to substantiate any of the awards outlined in paragraph 26 above.

       28.      Moreover, as indicated above, Plaintiff's military duties, including the

requirement that he comply with the orders of his superiors and not seek legal advice at the Base

Legal Office and move out of his apartment and into the dormitory on base, materially affected his

ability to defend the 2017 civil divorce action.

       29.      On or about August 17, 2017, Plaintiff received a letter at the mail room of the

802t Security Forces Squadron on base at JBSA-Lackland, Texas. That letter had been mailed to

Plaintiff from the offices of Defendant McLAUGHLIN on some date after January 24, 2017,

concerning the setting of a default judgment hearing on February 17, 2017.     However, the mail

room of Plaintiffis squadron at JBSA-Lackland did not deliver the letter to him until August 17,



       30.      Plaintiff immediately telephoned the offices of Defendant McLAUGHLiN and

spoke with Nancy Wylie, a paralegal employed by Defendant McLAUGHLIN, who informed

Plaintiff that ajudgment of divorce had been granted against him on February 17,2017. Ms. Wylie

then emailed a copy of the 2017 Divorce Decree to Plaintiff. That was the first date on which

Plaintiff knew he had been divorced according to the 2017 Divorce Decree since February 17,




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2017 and Plaintiff's first knowledge of the debts and other monetary awards that had been

adjudicated against him in the 2017 Divorce Decree.

       31.      When an investigation by the U.S. Air Force disclosed the Plaintiff had been

apparently divorced since February 17, 2017 by virtue of the 2017 Divorce Decree, it was

discovered that he had been receiving allowances from the Air Force in the form of Basic

Allowance for Housing (BAH) and Basic Allowance for Subsistence (BAS) at the "with

dependents" rate, which is higher than the rate for a single airman. That discovery led to the

preferral on March 5, 2018 of a single specification of theft of Government property of a value in

excess of $500.00 in violation of article 121 of the Uniform Code of Military Justice (for the

"overpaid" Basic Allowance for Housing and Basic Allowance for Subsistence between February

and August 2017).

       32.     Thereafter, when further investigation discovered the debts and other monetary

awards adjudicated against Plaintiff in the 2017 Divorce Decree by the Texas state court, additional

court-martial charges were preferred against Plaintiff on May 31, 2018, which included four

specifications of a violation of article 134 of the Uniform Code of Military Justice, specifically for

alleged dishonorable failure to pay just debts. Those four specifications included a debt for monies

allegedly owed to Miranda Hollis (the name Defendant RACHUI adopted following entry of the

2017 Divorce Decree) in the amount of $1,206.00 (Specification 2 of the Additional Charge),

$2,491.00 (Specification 3 of the Additional Charge), and $5,300 (Specification 4 of the Additional

Charge) and a debt of $2,500 to Defendant McLAUGHLIN (Specification              5   of the Additional

Charge), all of which had been adjudicated against Plaintiff in the 2017 Divorce Decree.

       33.      Plaintiff was the defendant (called "the accused" in military parlance) in a special

court-martial that took place at Joint Base San Antonio Lackland, Texas on 18-19 June 2018. He



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was charged with one specification of a violation of Article 121 of the UCMJ (the overpayment of

his BAH and BAS during a period when he did not even know he had been divorced) and six

specifications of dishonorable failure to pay just debts in violation of Article 134 of the UCMJ.

Four of the six specifications of the Article 134 violation were for debts or other amounts

adjudicated against Plaintiff in the 2017 Divorce Decree. In the court-martial, the Plaintiff (the

accused in the court-martial) was convicted of all specifications and charges with the sole

exception of Specification 5 of the Additional Charge (the $2,500 debt owed to Defendant

McLAUGhLIN for her services in the divorce) and ordered to be confined at hard labor for six

months and to forfeit $1,092.00 per month for six months and thereafter to be restricted to the

confines of JBSA-Lackland, Texas for two months. As a result of the court-martial conviction and

sentence, Plaintiff TYLER MATTHEW RACHUI was confined at JBSA-Lackland, Texas from

June 22, 2018 until November 21, 2018, at which time he began a period of restriction to the limits

of JBSA-Lackland, Texas for an additional two months.

       34.     On August 3, 2018, counsel for Plaintiff filed in state court a Motion to Vacate and

Set Aside Judgment of Divorce, Pursuant to 50 U.S.C. §3931(g), seeking nullification of the 2017

Divorce Decree. Both Defendants herein were served with that motion to vacate.

       35.     On October 3, 2018, the 45th Judicial District Court, Bexar County, Texas, held a

hearing on the Plaintiff's motion. Plaintiff, still a prisoner confined at the Joint Base Lackland

Confinement Facility, attended the hearing by telephone. Both Defendants were present in the

courtroom for the hearing.     Defendant MIRANDA RACHUI was represented by Defendant

McLAUGHLiN at the hearing.

       36.     Testimony was received from Nancy Wylie (the paralegal employed by Defendant

McLAUGHLiN, Defendant MIRANDA RACHUI and Plaintiff (by telephone from the



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Confinement Facility). During her testimony, Defendant MIRANDA RACHUI admitted that at

all times when the divorce proceedings were underway, she knew her then-husband, Plaintiff

herein, was on active duty with the U.S. Air Force and that her attorney, Defendant McLAUGHLIN

was also aware of that fact.

       37.      During her testimony, Nancy Wylie testified that she and Defendant

McLAUGHLIN both knew Plaintiff was on active duty with the U.S. Air Force and that in the two

years and three months she had worked for Defendant McLAUGHLIN, she had never seen

Defendant McLAUGHLiN file an affidavit in a case informing the court whether or not the

defendant was on active military duty.

       38.      At the close of the hearing, Judge Angelica I. Jiminez ruled that Defendant

McLAUGHLIN's actions had violated the SCRA's protections against the entry of default

judgments except in strict conformity with the requirements found in 50 U.S.C. §3931 and that she

had also violated her obligation to inform the court whenever the defendant against whom a default

judgment was being sought was on active military duty. Accordingly, Judge Jiminez granted

Plaintiffis motion and vacated and set aside the February 17, 2017 Divorce Decree and declared it

a nullity. A Second Amended Order on the Motion to Vacate and Set Aside Judgment of Divorce,

Pursuant to 50 U.S.C. §3931(g) was signed on October 8, 2018 and filed in the record on October

10, 2018.

        39.     The net effect of the Texas state court's order of October 8, 2018 is that Plaintiff

and Defendant MIRANDA RACHUI were still married as of that date.

        40.     Ultimately, Plaintiff and Defendant MIRANDA RACHUI were divorced on

December 6, 2018 in a judgment that did not award any damages or debts to either party and in

which each party acknowledged responsibility for the party's own attorney fees.



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                                  FIRST CAUSE OF ACTION

                    Violation of 50 U.S.C.      3931 and 4042 by Defendants

       41.     Plaintiff restates and re-avers all allegations of paragraphs   1   through 39 above.

       42.     From February 9, 2016 until the present, Plaintiff has been a servicemember as

defined by 50 U.S.C. §3911(1) and therefore protected by the provisions of the SCRA, specifically

including the protection against default judgments except those entered in strict conformity with

50 U.S.C. §3931 after the appointment   of counsel to represent the servicemember if he or she has

not made an appearance in the civil case.

       43.     As detailed in paragraphs 13 through 26, Defendants, having full knowledge that

Plaintiff was on active duty in the U.S. Air Force, failed to notify the Texas state court in which

the divorce action was pending of the Plaintiff's military status, failed to file the affidavit of

military service required by 50 U.S.C. §3931 and failed to have an attorney appointed to represent

Plaintiff in the divorce action. The failure of Defendants to have an attorney appointed to represent

Plaintiff as required by the SCRA led directly to the entry of the 2017 Divorce Decree and the

awards of debts and financial obligations in favor of Defendants that were not pled or proven by

any competent evidence in the state court divorce action. The entry of a default judgment against

Plaintiff in the state court divorce action in violation of 50 U.S.C. §3931, and the award and

subsequent non-payment of the debts and other monetary amounts in favor of Defendants

MIRANDA RACHUI and McLAUGHLIN led directly to the court-martial of Plaintiff and his

subsequent imprisonment, restriction to base and forfeiture of pay, leaving Plaintiff with a federal

conviction on his permanent criminal history.




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       44.     Pursuant to 50 U.S.C. §4042(a), Plaintiff is entitled to declaratory relief that

Defendants' practices violate 50   u.s.C. §3901, et seq.


       45.     Pursuant to 50   u.s.c.   §4042(a), Plaintiff is entitled to injunctive relief stopping

Defendants from further violating 50     u.s.c. §390l, et seq.


       46.     The wrongful actions of Defendants in obtaining the 2017 Divorce Decree in a

manner that knowingly and flagrantly violated 50 u.s.c.    §3931   (by not filing the required affidavit

to indicate the military service status of Plaintiff and not having an attorney appointed to represent

him) and the awarding of the debts and other payments listed in that decree detailed above led

directly to the filing of court-martial charges against Plaintiff (the accused in the court-martial

proceedings), his subsequent court-martial, imprisonment, restriction to base and forfeiture of pay,

as well as having a federal criminal conviction on his criminal record.

       47.     As a result of the Defendants' violations of 50 U.S.C.   §3931,   pursuant to so   u.s.c.


§4042(a) Plaintiff is entitled to monetary damages, including damages for forfeiture of his pay

following the court-martial, mental anguish, embarrassment, humiliation, outrage and emotional

distress resulting from the loss of his personal freedom during the time he was incarcerated at

JBSA-Lackland, Texas as a result of charges for "dishonorable failure to just pay" debts that were

improperly included in the 2017 Divorce Decree and "theft" of Government allowances (the

"overpaid BAH"), the basis for all of which has been vacated and set aside by the nullification of

the 2017 Divorce Decree. Plaintiff is also entitled to monetary damages for the harm caused to his

reputation and future earning capacity because he now has a federal conviction on his record,

which never would have happened except for the awarding of the fraudulent debts against him in

the 2017 Divorce Decree and the "overpayment" of allowances to which Plaintiff is actually

entitled (now that the 2017 Divorce Decree has been vacated and nullified).



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       48.     Additionally, pursuant to 50 U.S.C. §4042(b), Plaintiff is entitled to reasonable

attorneys' fees and all costs of both this action and the proceedings in the 45th Judicial District

Court, Bexar county, Texas, required to have the 2017 Divorce Decree vacated and set aside

because of the violations of the SCRA by Defendants.

       49.     Additionally, because it appears that Defendant McLAUGHLiN intentionally

failed to file the affidavit required by 50 U.S.C. §3931 in Plaintiffis case, and intentionally fails to

file the affidavit required by 50 U.S.C. §3931 in all cases in which the opposing party is an active

duty military member, Plaintiff suggests that exemplary damages are appropriate in this case and

prays for an award of such additional exemplary damages as will be sufficient to deter Defendant

McLAUGHLIN from future conduct of this nature.

        50.    At all times herein, Defendant MIRANDA RACHUI was complicit in the actions

and omissions of Defendant McLAUGHLIN in concealing the military status of Plaintiff from the

Texas state court and is therefore liable for the damages, attorneys fee and costs due Plaintiff to

the same extent as Defendant McLAUGHLIN, except for any exemplary damages that may be

awarded against Defendant McLAUGHLIN for her intentional practice of violating 50 U.S.C.

§3931 by never filing an affidavit of military service in cases when she knows the defendant is on

active military duty.


                                   JURY TRIAL DEMANDED

        51.     As to any issue triable of right by a jury, Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff requests judgment be entered against the Defendants and that the

Court grant the following:




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 1.   Judgment against the Defendants, jointly and severally, for Plaintiff's asserted
      causes of action;

 2.   Declaratory Judgment finding Defendants' practices violate 50 U.S.C.       §390l, et
      seq.;

 3.   An award of injunctive relief stopping the Defendants from further violating 50
      u.s.c.   §3901, etseq.;

 4.   An award of monetary damages against the Defendants,jointly and severally and an
      additional award of exemplary damages against Defendant McLAUGHLIN;

 5.   An award of reasonable attorneys' fees and other litigation costs reasonably incurred
      against the Defendants, jointly and severally in this matter and in the motion practice
      in 45th Judicial District Court, Bexar County, Texas for having to bring the motion
      to vacate the 2017 Divorce Decree; and

 6.   Any and all other relief to which the Plaintiff may be justly entitled.

                                              Respectfully submitted,

                                                                   a
                                            /4ohn S. Odom, Jr.//
                                              Attorney at Law (Va. Bar No. 10163)
                                              (Pro Hac Vice pending)
                                              2124 Fairfield Avenue
                                              Shreveport, LA 71104
                                              Telephone: 318-221-1600
                                              Facsimile: 318-425-1256
                                              Email: j obn.odom@iodplaw. corn

                                              ATTORNEY FOR PLAINTIFF




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                                       .              &
                                                             Document
                                                          CIVIL COVER 1 SHEET
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    The'JS 44 civii cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This fbrm, approved by the Judicial ConIerence of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket shet. (SEE INSTRUCTIONS ON NEXTPAGE OF THIS FORM)

    I. (a) PLAINTIFFS.                       .                         ..                                                             I       DEFENDANTS
    TYLER MATThEW RACHUI                                                                                                                   MIRANDA RACHUI and MARY ELIZABETH McLAUGHLIN dibla
                                                                                                                                          McLAUGHLIN LAW OFFICE
         (b) County of Residence of First Listed Plaintiff                             Bexar County, Texas                                 County of Residence of First Listed Defendant
                                           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                        (IN US. PLAINTIFF CASES ONLY)
                                                                                                                                              NOTE:    IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                       THE TRACT OF LAND INVOLVED.

         (c) Attorneys (Firm          Name, Address, and Telephone Number)                                                                    Attorneys (IfKnown)
    John S. Odom, Jr., Jones & Odom, LLP, 2124 Fairfield Avenue,
    Shreveport, Louisiana 71104; Phone: 318-221-1600


    II. BASIS OF JURISDICTION 7Place an "X" in One Box Only)                                                             III. CITIZENSHIP OF PRINCIPAL PARTIES (P/ocean "X" in One Box for PlaintfJ
                                                                                                                                      (For Diversity Cases Only)                                                  and One Boxfor Defendant)
    ID   1     U.S. Government                        (   3    Federal Question                                                                                PTF              DEF                                             PTF       DEF
                  Plaintiff                                      (U.S. Government Not a Party)                                 Citizen of This State                C)    I      C)    1     Incorporated or Principal Place         0    4   C)   4
                                                                                                                                                                                               of Business In This State

    0    2     U.S.Government                     C)      4    Diversity                                                       CitizenofAnotherState                C)    2      0     2     IncorporatedandPrincipalPlace           0    5   C) 5
                  Defendant                                      (Indicate Citizenship ofParties in Item III)                                                                                    of Business In Another State

                                                                                                                               Citizen or Subject of a              0     3      C)    3     Foreign Nation                          C)   6   0    6
                                                                                                                                 Foreign Country
    IV.        NATIJRF.     OF SIJIT             'Plare       an "X"   in   On, Ray Only)                                                                                        ('lick here for: Nature rifSiiii ('ride Decrintion
I
                  CONTRACT                                                           TORTS                                          FORFEITUREIPENALTY                                BANKRUIvTCY                       OTHER STATUTES                 I


    C)     Insurance
         110                                          PERSONAL INJURY                            PERSONAL INJURY               C)   625 Drug Related Seizure              C)   422 Appeal 28 USC 158              0 375 False   Claims Act
    C)     Marine
         120                                     C) 310 Airplane                           C)    365 Personal Injuty -                  ofProperty 21 USC 881             ID   423 Withdrawal                     C) 376 Qui Tam (31 USC
    C)     Miller Act
         130                                     C) 315 Airplane Product                             Product Liability         C)   690 Other                                      28 USC 157                             3729(a))
    C)     Negotiable Instrument
         140                                            Liability                          C)    367 Health Care!                                                                                                 C) 400 State Reapportionment
    C)     Recovery of Overpayment
         150                                     C) 320 Assault, Libel &                             Pharmaceutical                                                            PROPERTY RiGltl                    C) 410 Antitrust
           & Enforcement of Judgment                     Slander                                     Personal Injury                                                      C)   820 Copyrights                     C) 430 Banks and Banking
    O 151 Medicare Act                           C) 330 Federal Employers'                           Product Liability                                                    C)   830 Patent                         C) 450 Commerce
    O 152 Recovery of Defaulted                         Liability                          C)    368 Asbestos Personal                                                    C)   835 Patent - Abbreviated           C) 460 Deportation
           Student Loans                         C) 340 Marine                                        Injury Product                                                               New Drug Application           C) 470 Racketeer Influenced and
           (Excludes Veterans)                   C) 345 Marine Product                               Liability                                                            C)   840 Trademark                              Corrupt Organizations
    o 153 Recovery of Overpayment                       Liability                            PERSONAL PROPERTY                                LABOk                            SOC I L S E( CR Ii V               0 480 Consumer Credit
           of Veteran's Benefits                 Cl 350 Motor Vehicle                      ID 370 Other Fraud                  ID   710 Fair Labor Standards              C)   861 HIA (1395ff)                   0 490 Cable/Sat TV
    C) 160 Stockholders' Suits                   C) 355 Motor Vehicle                      ID 371 Truth in Lending                       Act                              C)   862 Black Lung (923)               0 850 Securities/Commodities!
    C) 190 Other Contract                               Product Liability                  C)    380 Other Personal            C)   720 Labor/Management                  0    863 DIWC/DIWW (405(g))                     Exchange
    C) 195 Contract Product Liability            C) 360 Other Personal                               Property Damage                     Relations                        0    864 SSID Title XVI                   ( 890 Other Statutory Actions

    C) 196 Franchise                                    Injury                             C)    385 Property Damage           C)   740 Railway Labor Act                 0    865 RSI (405(g))                   C) 891 Agricultural Acts
                                                 C) 362 Personal Injury -                            Product Liability         0    751 Family and Medical                                                        C) 893 Environmental Matters
                                                        Medical Malpractice                                                              Leave Act                                                                C) 895 Freedom of Information

I          REAL P,ROPERTY                             CIVTL.1UCHTS                          1RISONER PETITIONS                 C)   790 Other Labor Litigation                 iEDERi, TAX SUITS                          Act
    Cl 210 Land Condemnation                     C) 440 Other Civil Rights                       Habeas Corpus:                C)   791 Employee Retirement               C)   870 Taxes (U.S. Plaintiff          C) 896 Arbitration
    C) 220 Foreclosure                           C) 441 Voting                             C)    463 Alien Detainee                     Income Security Act                        or Defendant)                  0 899 Administrative Procedure
    O 230 Rent Lease & Ejectment                 C) 442 Employment                         ID    510 Motions to Vacate                                                    ID   871 IRSThird Party                         Act/Review or Appeal of
    o  240 Torts to Land                         C) 443 Housing!                                     Sentence                                                                      26 USC 7609                            Agency Decision
    O 245 Tort Product Liability                        Accommodations                     C)    530 General                                                                                                      C) 950 Constitutionality of
    0 290 All Other Real Property                C) 445 Amer. wfDisabilities           -    C)   535 Death Penalty                        I   IMIGRATlQN                                                                  State Statutes
                                                        Employment                               Other:                        C)   452 Naturalization Application
                                                 C) 446 Amer. w/Disabilities           -    C)   540   Mandamus & Other        C)   465 Other Immigration
                                                        Other                               C)   550   Civil Rights                     Actions
                                                 C) 448 Education                           0    555   Prison Condition
                                                                                            ID   560   Civil Detainee -
                                                                                                       Conditions of
                                                                                                       Confinement

    V. ORIGIN             (Place an "X" in One Box Only)
    x: I       Original          Cl   2 Removed from                          C)   3       Remanded from                 0   4 Reinstated or          ID   5   Transferred from              0    6 Multidistrict           C) 8   Multidistrict
               Proceeding               State Court                                        Appellate Court                     Reopened                        Another District                     Litigation -                   Litigation -
                                                                                                                                                               (specfy)                              Transfer                      Direct File
                                                                 the U.S. Civil Statute under which you are filing (Do not citejurisdictional statutes unless diversity):
    VI. CAUSE OF ACTION
                                                              Violation of SCRA by entering a default judgment
    VII. REQUESTED IN     t                                     CHECK IF THIS IS A CLASS ACTION                                     DEMAND $                                               CHECK YES only if demanded in complaint:
         COMPLAINT:                                             UNDER RULE 23, F.R.Cv.P.                                                                                                   JURY DEMAND:         R Yes IDNo
    VIII. RELATED CASE(S)
                                                               (See instructions):
          IF ANY                                                                           JUDGE                                                                               DOCKET NUMBER
    DATE                                                                                                  TURE
    12/14/2018

         RECEIPT #                         AMOUNT                                                      APPLYING IFP                                        JUDGE                                     MAG. JUDGE
JS 44 Reverse (Rev. 06/17)   Case 5:18-cv-01315-OLG Document 1 Filed 12/17/18 Page 17 of 17

                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The iS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identif' first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the 'defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)'.

II.      Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an 'X'
         in one of the boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X' in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.       Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
          statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.      Requested in Complaint. Class Action. Place an "X' in this box if you are filing a class action under Rule 23, F.R.Cv.P.
          Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
          Jury Demand. Check the appropriate box to indicate whether or not ajury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
